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            UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA
                           Abingdon Division


UNITED STATES OF AMERICA

v.
                                                    REPORT AND
APRIL SHANNON HUTSON, et al.,                       RECOMMENDATION
                                                    Case Number:
       Defendants                                   1:10cr00002




       This matter is before the undersigned on the Defendant’s Motion To Dismiss
Indictment And Exclude Evidence, (Docket Item No. 578), filed on behalf of Robert
Allen Parks, (“Motion”). Based on the arguments and representations of counsel and
for the reasons set forth below, I recommend that the court deny the Motion.


                                      I. Facts


       Parks is charged along with 35 other defendants with one count of conspiracy
to distribute and possess with intent to distribute five kilograms or more of cocaine,
oxycodone and hydrocodone in violation of 21 U.S.C. § 846. The Indictment alleges
that this conspiracy existed “[o]n or about and between January 1, 2003 and January
13, 2010.” Parks was born in 1988. Parks did not turn 18 years of age until 2006,
more than three years after the inception of this alleged conspiracy.


       The government initiated this drug conspiracy charge by Criminal Complaint

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prior to the return of the Indictment. The Affidavit offered in support of the Criminal
Complaint contains the following allegations against Parks:


              On April 19, 2008, Robert Parks called Shannon Hutson from the
      Sullivan County Jail. Hutson told Parks that she was picking Scott (Last
      Name Unknown) up to go and get her money. Hutson told Parks that she
      was ready for Kari (Parks) and Josh (Snypes) to move out because they
      were stealing pills.
              ...
              On January 14, 2009, CS-18 was arrested with Raymond Hilliard
      in possession of ½ ounce of cocaine. In a subsequent interview, CS-18
      stated that Robert Parks had told him/her that Parks’ mother dealt in
      quantities of cocaine.
              ...
              On May 14, 2008, Chucky Hensley was interviewed in
      Blountville, TN. Hensley provided detailed information regarding
      Rhonda Hutson, Shannon Hutson, and Jr. Stiltner. Hensley stated that
      customers of the Drug Trafficking Organization included... Robert
      Parks....
              ...
              On January 15, 2008, Robert Parks placed a telephone call from
      the Sullivan County Jail to his mother, Shannon Hutson. Parks stated that
      he had been threatened by Chris Hutson because of the fifteen (15)
      Lortabs that he stole from Rhonda Hutson. Shannon Hutson told Parks
      that it was more than fifteen (15).

            On March 13, 2008, Carrie Evelyn Jarrett was interviewed in
      Bristol, TN. Jarrett stated that Shannon Parks (Hutson) was a cocaine
      supplier to Bobby Nelson. Jarrett stated that Hutson had a daughter
      named Kari Parks and a son named Robert Parks who distributed cocaine
      for Hutson.
            ...
            On July 1, 2008, Robert Parks placed a telephone call from the
      Sullivan County Jail to Kari Parks. Robert spoke with an unknown male
      about sending marijuana in a package that Kari was sending. The
      unknown male told Robert that he would send ½ nickel.

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             On July 1, 2008, Robert Parks placed a telephone call from the
      Sullivan County Jail to Shannon Hutson. Parks told Hutson to tell Kari
      (Parks) to get him some pot if she could.
             On July 4, 2008, Robert Parks placed a telephone call from the
      Sullivan County Jail to Kari Parks. Robert and Kari spoke about an
      inmate who smuggled drugs into the jail for Kari.
             On December 1, 2008, Brandon Kincer was interviewed in Bristol,
      TN. Kincer stated that Robert PARKS was a cocaine distributor, and a
      son of Shannon Hutson. Kincer stated that he had purchased 1/4 ounces
      of cocaine from Parks on approximately seven (7) different occasions.
      Kincer stated that these transactions occurred at Parks’ trailer located on
      Weaver Pike in Bristol, TN.
             ...
             On June 4, 2008, Robert Parks called Shannon Hutson from the
      Sullivan County Jail. Parks and Hutson discussed Junior Stiltner being
      used by Rhonda (Hutson) to “f— peoples shit up” who owed money to
      Rhonda.

                                     II. Analysis


      Parks argues that the Indictment should be dismissed against him because the
offense alleged occurred, in part, while he was a juvenile under the age of 18. Parks
argues that the Juvenile Delinquency Act, 18 U.S.C.A. § 5031 et seq. (West 2000),
prohibits the prosecution in federal court, except under certain exceptional
circumstance, of a violation of federal law committed by a person prior to his
eighteenth birthday. See 18 U.S.C.A. §5032 (West 2000). He also argues that the
government should be excluded from offering any evidence of any criminal acts
committed by him prior to his reaching 18 years of age.


      The Fourth Circuit has addressed the exact issue raised by Parks in his Motion.
In United States v. Spoone, 741 F.2d 680, 687 (4th Cir. 1984), an 18-year-old

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defendant in an auto theft conspiracy case argued that the federal district court lacked
jurisdiction to admit evidence pertaining to a defendant’s acts committed while he was
a juvenile. The Fourth Circuit rejected the argument, stating:


      Unlike most federal offenses, conspiracy is a continuing crime. The
      Juvenile Delinquency Act does not, of course, prevent an adult criminal
      defendant from being tried as an adult simply because he first became
      embroiled in the conspiracy with which he is charged while still a minor.

Spoone, 741 F.2d at 687. The court found that the government in Spoone had
presented sufficient evidence from which the jury could infer that the defendant’s
involvement in the alleged conspiracy continued after he turned 18. See 741 F.2d at
687. The Court also held that the jury was entitled to hear evidence showing that the
defendant had known of the conspiracy since its inception, which was before he
turned 18, although the jury could not consider any acts committed while a juvenile
as evidence of his guilt. See Spoone, 741 F.2d at 687. See also United States v.
Claiborne, 92 F. Supp. 2d 503, 514 (E.D. Va. 2000) (government may prosecute an
adult for participation in a conspiracy that began prior to the defendant’s eighteenth
birthday provided that the defendant engaged in some overt act indicating his
ratification of the conspiracy after attaining the age of 18; evidence of juvenile acts
may not be considered as substantive evidence of guilt, but may be admitted for the
limited purpose of putting the defendant’s subsequent post-eighteen conduct within
the context of the conspiracy).


      Thus, if the government can produce evidence in this case that Parks’s
involvement in the alleged conspiracy continued after he turned 18, then the
government should be allowed to produce evidence of Parks’s involvement in the

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alleged conspiracy from its inception. Based on the evidence alleged in the Criminal
Complaint, it appears that the government can produce evidence from which a jury
could infer that Parks’s involvement in this conspiracy continued after he turned 18
in 2006. That being the case, I will recommend that the Motion be denied.


                      PROPOSED FINDINGS OF FACT
                       AND CONCLUSIONS OF LAW

      As supplemented by the above summary and analysis, the undersigned now
submits the following formal findings, conclusions and recommendations:


      1.    The Indictment in this case charges a drug conspiracy
            beginning on or about January 1, 2003, and continuing until
            January 13, 2010;
      2.    Parks did not turn 18 years old until 2006;
      3.    The Juvenile Delinquency Act does not prevent a defendant
            from being prosecuted for a conspiracy he joined prior to
            turning 18 years old, if his involvement in the conspiracy
            continued after turning 18 years old; and
      4.    It appears that the government can produce evidence that
            Parks’s involvement in this alleged drug conspiracy continued
            after he reached 18 years of age.




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                       RECOMMENDED DISPOSITION


      For the reasoning set out above, the undersigned recommends that this court
deny the Motion.


                                 Notice to Parties


      Notice is hereby given to the parties of the provisions of 28 U.S.C.A.
§ 636(b)(1)(c):
              Within fourteen days after being served with a copy [of
              this Report and Recommendation], any party may serve
              and file written objections to such proposed findings and
              recommendations as provided by rules of court. A judge
              of the court shall make a de novo determination of those
              portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of
              the court may accept, reject, or modify, in whole or in
              part, the findings or recommendations made by the
              magistrate judge. The judge may also receive further
              evidence or recommit the matter to the magistrate judge
              with instructions.

      Failure to file timely written objections to these proposed findings and
recommendations could waive appellate review.


      The Clerk is directed to send certified copies of this Report and
Recommendation to all counsel of record at this time. At the conclusion of the 14-day
period, the Clerk is directed to transmit the record in this matter to the Honorable
James P. Jones, Chief United States District Judge.


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  DATED:      This 24th day of March 2010.



                                /s/    Pamela Meade Sargent
                                       UNITED STATES MAGISTRATE JUDGE




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